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                        UNITED STA TES DISTRICT Co UR T
                           DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                                      HON. MWNNf*UMP

                                      Plaintiff
                                                                Criminal No. 95-070
        V.

                                                                  ORDER FOR
 RANDY ALVAREZ-QUINONES,                                        REMISSION OF FINE

                                      Defendant.

       This matter having been opened to the Court by PAUL J. FISHMAN, United States

Attorney for the District of New Jersey (Jordan Anger, Assistant U.S. Attorney, appearing), and

the Court having considered the Petition for Remission of Fine, and for good cause shown,

       IT IS on this      /         day of               ,   2012,

       ORDERED, that the balance of the fine imposed on February 16, 1996, in the amount of

$1,077.58 is hereby remitted.




                                                      STATES DISTRICT JUDGE

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